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Judith W. Ross
State Bar No. 21010670
Frances A. Smith
State Bar No. 24033084
Eric Soderlund
State Bar No. 24037525
Ross & Smith, PC
700 N. Pearl Street, Suite 1610
Dallas, Texas 75201
Telephone: 214-377-7879
Facsimile: 214-377-9409
Email: judith.ross@judithwross.com
        frances.smith@judithwross.com
        eric.soderlund@judithwross.com

CO-COUNSEL FOR MEMBER MARKETING PARTNERS LLC

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVSION

In re:                                                  Chapter 11

NATIONAL RIFLE ASSOCIATION                              Case No. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC,

                Debtors1.                               Jointly Administered


                        NOTICE OF APPEARANCE AND REQUEST
                       FOR SERVICE OF NOTICES AND PLEADINGS

         PLEASE TAKE NOTICE that the undersigned hereby appears as under Federal Rule of

Bankruptcy Procedure 9010(b) as co-counsel for Member Marketing Partners LLC (“MMP”),

creditor and party-in-interest in the above-captioned case. MMP request that all notices or paper

given or served, or required to be given or served, in this case and all cases consolidated

herewith be given or served upon the following attorneys:




1
 The last four digits of Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.

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                                 Judith W. Ross
                                 ROSS & SMITH, PC
                                 700 North Pearl Street, Suite 1610
                                 Dallas, Texas 75201
                                 Telephone: 214-377-7879
                                 Facsimile: 214-377-9409
                                 Email: Judith.ross@judithwross.com

                                 Arthur A. Greenberg
                                 G&B LAW, LLP
                                 16000 Ventura Boulevard, Suite 1000
                                 Encino, CA 91436-2730
                                 Telephone: 818-382-6200
                                 Facsimile: 818-986-6534
                                 Email: agreenberg@gblawllp.com

       This request encompasses all notices and pleadings including, without limitation, notices

of any orders, motions, demands, complaints, petitions, pleadings or requests, formal or informal

applications, disclosure statements or plans of reorganization, or any other documents brought

before the Court in this case.

       The undersigned counsel additionally requests that the Trustee and the Clerk of the Court

place their names and addresses on any mailing matrixes to be prepared or existing in the above-

referenced case and on any lists of creditors to be prepared or existing in the above-captioned

bankruptcy case.




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Dated: February 12, 2021                  Respectfully submitted,

                                          By: /s/ Judith W. Ross
                                          Judith W. Ross
                                          State Bar No. 21010670
                                          Frances A. Smith
                                          State Bar No. 24033084
                                          Eric Soderlund
                                          State Bar No. 24037525
                                          ROSS & SMITH, PC
                                          700 N. Pearl Street, Suite 1610
                                          Dallas, Texas 75201
                                          Telephone: 214-377-7879
                                          Facsimile: 214-377-9409
                                          Email: judith.ross@judithwross.com
                                                  frances.smith@judithwross.com
                                                  eric.soderlund@judithwross.com

                                          Arthur A. Greenberg
                                          G&B LAW, LLP
                                          16000 Ventura Boulevard, Suite 1000
                                          Encino, CA 91436-2730
                                          Telephone: 818-382-6200
                                          Facsimile: 818-986-6534
                                          Email: agreenberg@gblawllp.com

                                          CO-COUNSEL FOR MEMBERSHIP MARKETING
                                          PARTNERS LLC


                              CERTIFICATE OF SERVICE
        The undersigned hereby certifies that on February 12, 2021, I caused the foregoing
Notice to be served upon via the Court’s ECF Notifications system upon all parties that have
registered to receive notices via ECF.

                                                  /s/ Judith W. Ross
                                                      Judith W. Ross




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FOR SERVICE OF NOTICES AND PLEADINGS - Page 3
